              Case 6:19-bk-01058-KSJ         Doc 14     Filed 05/03/19     Page 1 of 3



                                        ORDERED.


         Dated: May 03, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:                                            Case No. 6:19-bk-01058
                                                  Chapter 7
CHRISTOPHER KING
MELISSA KING

Debtors                /

            ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN
                BK GLOBAL REAL ESTATE SERVICES TO PROCURE
          CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §327, 328 AND 330

          Upon the Notice and Application of Arvind Mahendru, the trustee in the above-captioned

 case (“Trustee”), to Retain BK Global Real Estate Services (“BKRES”) to Procure Consented

 Public Sale pursuant to 11 U.S.C. § 327, 328 and 330 (“Application”) [DE#13], the Court having

 reviewed and considered the Application and the Affidavit of Disinterestedness and having

 found good and sufficient cause appearing therefore and the same to be in the best interest of

 Debtor and the creditors the Court hereby FINDS that:

             A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

             B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

          §§ 1408 and 1409.

             C. Notice of the Application was sufficient under the circumstances.

                 Based upon the foregoing findings of fact, it is hereby
            Case 6:19-bk-01058-KSJ          Doc 14     Filed 05/03/19   Page 2 of 3



       ORDERED, ADJUDGED, AND DECREED that:

       1.      The Application is hereby GRANTED.

       2.      Defined terms not otherwise defined herein have the meanings given to them in

the Application and the Affidavit.

       3.      The Trustee is authorized to retain and compensate BKRES to procure Secured

Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s Chapter 7 case

pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014

and 2016, in accordance with the terms and conditions set forth in the BKRES Agreement, the

Listing Agreement and this Order.

       4.      BKRES is disinterested persons within the meaning of Bankruptcy Code Section

101(14).

       5.      BKRES shall be compensated in accordance with Listing Agreement, and such

compensation shall not hereafter be subject to challenge except under the standard of review set

forth in Section 330 of the Bankruptcy Code.

       6.      BKRES shall be authorized to receive and retain their fees from Secured Creditor

at the successful closing of the sale of the Property without necessity of further order of the

Court. BKRES is authorized to share their fees with cooperating real estate agents. The estate

shall, in no circumstance, be obligated to compensate BKRES in such event and BKRES shall

not have a claim against the estate for any unpaid amounts. BKRES, and anyone claiming by,

through or under either of them, shall only have recourse for recovering its fee to Secured

Creditor. The estate shall have no liability for any such claim.

       7.      Notice of the Application was adequate and proper.
            Case 6:19-bk-01058-KSJ         Doc 14     Filed 05/03/19     Page 3 of 3



       8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
